Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                             West Palm Beach Division

                                      CASE NO:
 ______________________________
 FRANK LAMB,

       Plaintiff,
 vs.

 UNITED STATES OF AMERICA,
 SCOTT S. KATZMAN, MD, and
 ADVANCED ORTHOPEDICS &
 PAIN MANAGEMENT, PL

       Defendants.
 _______________________________

                                    COMPLAINT

       Plaintiff, FRANK LAMB by and through the undersigned counsel, sues

 Defendants, UNITED STATES OF AMERICA by and through its employee and/or agent,

 SCOTT S. KATZMAN, MD, (“KATZMAN”) and ADVANCED ORTHOPEDICS & PAIN

 MANAGEMENT, PL (ADVANCED) and states as follows:

                            JURISDICTION AND VENUE

       1.     The subject incident occurred in Palm Beach County, Florida.

       2.     This is an action arising under the Federal Tort Claims Act (hereinafter

 "FTCA") and Florida state law.
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 2 of 8




        3.     The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331, 28

 U.S.C. §1346(b) and supplemental jurisdiction of state law claims under 28 U.S.C. §

 1367(a).

        4.     Jurisdiction is founded upon federal law is proper in that this action is

 premised upon federal causes of action against Defendant, UNITED STATES, under the

 FTCA, 28 U.S.C. § 2671, et. seq.

        5.     Venue in the Southern District of Florida is proper pursuant to 28 U.S.C.

 §1391(b), §1391(e)(1), and §1402(b).

        6.     At all times relevant herein, Plaintiff, LAMB, was a citizen of the United

 States, residing in St. Lucie County, Florida.

        7.     At all times relevant herein, upon information and belief, Defendant,

 KATZMAN was a citizen of the United States, a Florida licensed medical doctor with a

 specialty in orthopedic surgery, and a medical office in Palm Beach County.

        8.     On or about April 6, 2018, LAMB presented his claim to the Veterans

 Administration (“VA”), the appropriate federal agency for administrative settlement

 under the FTCA, comprising of a completed Standard Form 95.

        9.     On June 4, 2018, the VA denied Plaintiff’s claim set forth in the above-

 referenced Standard Form 95.




                                              2
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 3 of 8




        10.    This action is timely pursuant to 28 U.S.C. § 2401(b) in that it was presented

 to the appropriate federal agency (VA) within two (2) years of accrual, and that this action

 was filed within six (6) months of the date of the VA’s denial of the Plaintiff’s claim.

        11.    LAMB has complied with the statutory requires of Chapter 766, Florida

 Statutes, in that he served KATZMAN and ADVANCED with statutory notice of intent

 on or about April 6, 2018 and on or about July 2, 2018 KATZMAN and ADVANCED

 denied LAMB’s claim.

        12.    That all additional statutory requirements and conditions precedent have

 been met and/or complied with.

        13.    That this is an action for damages in the amount of SEVEN HUNDRED

 AND FIFTY THOUSAND ($750,000.00) DOLLARS, on behalf of LAMB, exclusive of

 interest and costs.

                                 FACTUAL BACKGROUND

        14.    LAMB has been a patient at the VA in West Palm Beach for over 20 years.

        15.    LAMB has had chronic lower back pain for a number of years and received

 care and treatment at the VA.

        16.    VA physicians treated LAMB with epidural injections in March 2015, July

 2015 and January 2016.

        17.    VA pain management physician(s) recommended a spine surgery consult

 for LAMB.


                                              3
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 4 of 8




       18.    Upon information and belief, the VA did not have an available spine

 surgeon at the West Palm Beach facility to consult with LAMB.

       19.    The   VA    referred   LAMB       to   KATZMAN     through   the   Veterans

 Administration Choice Program.

       20.    LAMB did not choose KATZMAN and request approval from the VA,

 instead it was the VA’s choice for LAMB to see KATZMAN.

       21.    KATZMAN evaluated LAMB on March 31, 2016 and April 18, 2016.

       22.    KATZMAN recommended that LAMB undergo a multi-level lumbar spine

 surgery.

       23.    On May 19, 2016, KATZMAN performed lower back surgery on LAMB and

 injured LAMB’s cauda equina.

       24.    As a result of the cauda equina injury, LAMB experienced and continues to

 experience pain, lower extremity weakness and bladder issues.

       25.    Prior to filing this matter, LAMB requested all credentialing and

 employment documentation from the VA setting forth the relationship between the VA

 and KATZMAN. On April 23, 2018, the VA stated that it was processing LAMB’s request,

 and to date, the VA has not provided a response.

       26.    Prior to filing this matter, KATZMAN has taken the position that the VA is

 responsible for his care and treatment related to LAMB.




                                            4
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 5 of 8




                                    COUNT I
                            FEDERAL TORT CLAIMS ACT

       27.    LAMB incorporates by reference rhetorical paragraphs 1-26 herein.

       28.    Upon information and belief, at all times relevant herein, KATZMAN was

 an employee and/or agent of the VA when he provided medical care and treatment to

 LAMB.


       29.    Upon information and belief, at all times KATZMAN rendered medical

 care to LAMB he was acting on behalf of the VA and within the course and scope of his

 agreement with the VA.


       30.    Upon information and belief, based on the relationship between the

 KATZMAN and the VA, the United States is responsible for any negligent acts or

 omissions of KATZMAN.


       31.    At all times relevant herein, KATZMAN owed LAMB a duty of care.


       32.    KATZMAN deviated from the applicable standard of care, in one or more

 of the following ways:


              (a) selection of the procedure(s) performed;
              (b) substandard performance of the surgery injuring LAMB’s nerve
              root(s);
              (c) failing to appropriately expose the L3-L4 area in order to identify and
              protect the nerve roots when performing the interbody fusion; and/or
              (d) failing to timely recognize cauda equina syndrome in his patient.


                                            5
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 6 of 8




        33.    As a direct and proximate result of KATZMAN’S negligence, LAMB was

 harmed, incurred hospital and medical expenses, suffered bodily injury, humiliation,

 embarrassment, physical and mental pain, anguish, in the past and will continue to

 experience these in the future.


        WHEREFORE, LAMB demands judgment against the UNITED STATES OF

 AMERICA/VETERANS ADMINISTRATION for compensatory damages, applicable

 costs and all other just and proper relief.

                  COUNT II – MEDICAL MALPRACTICE/KATZMAN

        34.    LAMB incorporates by reference rhetorical paragraphs 1,6,7,11, and 14-24

 herein.

        35.    At all times relevant herein, KATZMAN owed LAMB a duty of care.


        36.    KATZMAN deviated from the applicable standard of care, in one or more

 of the following ways:


               (a) selection of the procedure(s) performed;
               (b) substandard performance of the surgery injuring LAMB’s nerve
               root(s);
               (c) failing to appropriately expose the L3-L4 area in order to identify and
               protect the nerve roots when performing the interbody fusion; and/or
               (d) failing to timely recognize cauda equina syndrome in his patient.




                                               6
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 7 of 8




       37.       As a direct and proximate result of KATZMAN’S negligence, LAMB was

 harmed, incurred hospital and medical expenses, suffered bodily injury, humiliation,

 embarrassment, physical and mental pain, anguish, in the past and will continue to

 experience these in the future.

       WHEREFORE, LAMB demands judgment                  against KATZMAN         for   his

 compensatory damages, applicable costs, and all other just and proper relief.


          COUNT III – MEDICAL MALPRACTICE/VICARIOUS LIABILITY
            ADVANCED ORTHOPEDICS & PAIN MANAGEMENT, PL

       38.       LAMB incorporates by reference rhetorical paragraphs 1,6,7,11,14-24 and

 34-37 herein.

       39.       At all times relevant herein, ADVANCED was a Florida registered

 Professional Liability Company.

       40.       Upon information and belief, at all times relevant herein, KATZMAN was

 an employee and/or agent of ADVANCED.

       41.       Upon information and belief, at all times relevant herein, KATZMAN was

 working with the course and scope of his employment with ADVANCED when he

 performed medical care and treatment on LAMB.

       42.       Because of the nature of the relationship between ADVANCED and

 KATZMAN, ADVANCED is responsible for any of KATZMAN’S negligent acts and/or

 omissions under the doctrine of respondeat superior.


                                             7
Case 9:18-cv-80986-RLR Document 1 Entered on FLSD Docket 07/26/2018 Page 8 of 8




       WHEREFORE, LAMB demands judgment against ADVANCED for his

 compensatory damages, applicable costs, and all other just and proper relief.


                                    JURY DEMAND

       Plaintiff, FRANK LAMB, demands trial by jury as to his pendent state law claims.

                                         Respectfully submitted,

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                                            8
